Case 2:05-cr-20285-BBD Document 13 Filed 08/24/05 Page 1 of 2 Page|D 16

 

 

 

D.C.
IN THE UNITED STATES DISTRICT COURT F“‘ED BY ”'"""”"'
FOR THE WESTERN DISTRICT OF TENNESSEE ,
WESTERN DIVISION 05 AUG 2d PH 3- 32
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Cl_ERK. U.$. P}’Sl?{-lcl G(IM
UNITED sTATES oF AMERICA \,\!_Z.D @;: items
V.
MARVIN WILSON 05cr20285-D
ORDER ON ARRAIGNMENT
This cause came to be heard on whqu the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and With
counsel:

NAME TEFF£EY J'OME!> who is Retained/Appoimed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, Such period is extended

/The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
/
§. /Hmfh @-»-

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:641
public money, property or records

Attorney assigned to Case: ]. Murphy

Age: 40

Thls document entered on the docket sheet in compliance

with Rule 5=- and/or 32(b) FRCrP on "

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/:>J

 

 

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This notice confirms a copy of the document docketed as number 13 in
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Honorable Bernice Donald
US DISTRICT COURT

